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    13                      UNITED STATES DISTRICT COURT
    14                    CENTRAL DISTRICT OF CALIFORNIA
    15                             SOUTHERN DIVISION
    16
    17 ALLERGAN USA, INC.,                     Case No. 8:17-cv-01551-DOC-JDE
    18              Plaintiff,                 NOTICE OF MOTION AND
                                               MOTION FOR ISSUE
    19                     v.                  ESTABLISHMENT AND
                                               MONETARY SANCTIONS
    20 IMPRIMIS PHARMACEUTICALS,
       INC.,
    21                                         Date:        August 27, 2018
                                               Time:        8:30 a.m.
    22                       Defendant.        Courtroom:   9D
    23                                         Judge:       Hon. David O. Carter
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    25
    26
    27
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     1 TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
     2        PLEASE TAKE NOTICE THAT on August 27, 2018, at 8:30 a.m., or as
     3 soon thereafter as it may be heard, Plaintiff Allergan USA, Inc. (“Allergan”) will,
     4 and hereby does, move this Court for an order of discovery and monetary
     5 sanctions, pursuant to Federal Rule of Civil Procedure 37 and the Court’s inherent
     6 authority, in response to Defendant’s failure to comply with the Court’s order
     7 compelling production of certain documents. The motion will be, and hereby is,
     8 made on the following grounds:
     9        1.    On May 7, 2018, Magistrate Judge John D. Early ordered Defendant
    10 Imprimis Pharmaceuticals Inc. (“Defendant”) to produce all responsive, non-
    11 privileged documents and communications in response to Allergan’s Requests for
    12 Production (“RFPs”) Nos. 5‒8, 10‒17, 21‒28, and 45. (“May 7 Order,” Dkt. No.
                                   1
    13 59 and Akro Decl. Exh. B.) Those requests sought production of documents that
    14 are essential to prove Allergan’s claims, including (i) Defendant’s communications
    15 with Health Care Providers relating to Dropless Therapy, LessDrops, Simple
    16 Drops and Klarity (RFP Nos. 5‒8); (ii) documents related to those communications
    17 (RFP Nos. 5‒8); (iii) documents in which Defendant states or represents that any
    18 of its products come from a Section 503B facility (RFP No. 45); and (iv)
    19 documents in which Defendant has stated or represented the lawfulness of its
    20 business practices and sales (RFP Nos. 10‒11), its compliance with the governing
    21 legal framework (RFP No. 21), the superiority of its drugs compared to the FDA-
    22 approved drugs with which they compete (RFP Nos. 12‒17), the efficacy of its
    23 drugs (RFP Nos. 22‒25), and the supposed preference for its drugs by cataract
    24 surgeons (RFP Nos. 26‒28). Magistrate Judge Early ordered Defendant to provide
    25 these responsive, non-privileged documents by May 31, 2018. (Dkt. No. 59 and
    26 Akro Decl. Exh. B ¶ 7.)
    27   1
       Magistrate Judge Early also sanctioned Defendant $10,000 for failing to comply
    28 with its discovery obligations. (Dkt. No. 59 and Akro Decl. Exh. B ¶ 8.)

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     1         2.       Defendant has not complied with the May 7 Order in that Defendant
     2   has   failed    to   produce   all   responsive,   non-privileged     documents    and
     3   communications.       Instead, Defendant has improperly excluded key document
     4   custodians entirely, admitting that it has not produced documents from the
     5   custodial files of its sales personnel or its sales and business development
     6   executives. Defendant has also improperly excluded sources of documents by
     7   limiting its production almost entirely to email and attachments, excluding other
     8   sources such as desktop and share drive repositories and paper documents. And
     9   Defendant has unlitaerally imposed unjustified temporal limitations on its search
    10   and/or production. At a minimum, the Court should hold an evidentiary hearing to
    11   determine what Defendant has (and has not) done to comply with the order
    12   compelling production.
    13         3.       Despite the Court’s May 7 Order compelling production and awarding
    14   monetary sanctions, Defendant continues to refuse to participate in the discovery
    15   process in good faith.     Defendant’s conduct warrants discovery sanctions and
    16   additional monetary sanctions pursuant to Federal Rule of Civil Procedure 37 and
    17   the Court’s inherent authority. As explained in greater detail in the accompanying
    18   memorandum, Defendant’s failure to comply with the May 7 Order has
    19   substantially prejudiced Allergan’s ability to prove its claims. This prejudice is
    20   acute because the close of fact discovery is quickly approaching.
    21         4.       Allergan requests that the Court impose “issue” sanctions establishing
    22   the false, misleading, and materially deceptive nature of Defendant’s
    23   advertisements and promotion to Health Care Providers.              In the alternative,
    24   Allergan requests that the Court preclude Defendant from offering evidence on
    25   these issues. At the very least, Allergan requests that the Court instruct the jury
    26   that Defendant failed to produce documents it was ordered to produce and that the
    27   jury is to presume these documents would have demonstrated that Defendant’s
    28   advertisements and promotion to Health Care Providers are false, misleading, and
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     1   materially deceptive. Allergan also requests monetary sanctions for the work
     2   required to prepare this motion.
     3         5.     Before bringing this motion, Allergan’s counsel detailed the
     4   deficiencies in Defendant’s production in writing on numerous occasions and
     5   conferred with Defendant’s counsel on multiple fruitless occasions, including on
     6   July 11 and 20. Defendant’s counsel stated on July 11 that they were not in a
     7   position to respond to the deficiencies in Defendant’s production in light of a
     8   contemplated association of new counsel.      Defendant’s original counsel then
     9   reiterated in writing that they would not address Defendant’s failure to comply
    10   with the Court’s May 7 Order compelling production.          On July 20, 2018,
    11   Defendant’s new counsel filed a notice of appearance. A further conference of
    12   counsel was held that same day with Defendant’s new and original counsel.
    13   Defendant’s new counsel said he would look into certain deficiencies regarding the
    14   categories of documents Defendant has failed to produce despite the May 7 Order
    15   compelling production. Defendant’s new counsel made no commitment to produce
    16   additional documents, and provided no specific date by which any additional
    17   documents would be produced. Then, on July 27, 2018, Defendant’s new counsel
    18   emailed Allergan’s counsel stating that Defendant has collected documents from
    19   three sales executives, which Defendant “will produce shortly,” and that it was
    20   “reconsidering [its] prior exclusion of Regional Business Directors” and was
    21   “looking into feasibility of producing documents from the RBDs,” without any
    22   promises or guarantees as to when Defendant would produce any additional
    23   documents.
    24         Allergan’s motion for discovery and monetary sanctions is based on this
    25   Notice, the Memorandum of Points and Authorities filed herewith in support of
    26   this motion, the Declaration of Joseph N. Akrotirianakis (“Akro. Decl.”) filed
    27   concurrently herewith and the documents and materials appended thereto, the
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     1   pleadings and records on file in this case, and such other pleadings and oral
     2   argument as may be presented to the Court at any hearing on this motion.
     3         This motion is made following the Local Rule 37-1 conference of counsel,
     4   which took place by telephone on July 11 and July 20, 2018, as well as by written
     5   email and letter correspondence on the following dates: July 3, 6, 11, 12, 13, 14,
     6   20, and 27.
     7
     8   DATED: July 30, 2018                         KING & SPALDING LLP
     9
    10                                                By: /s/ Joseph N. Akrotirianakis
    11                                                  JOSEPH N. AKROTIRIANAKIS
                                                        AARON S. CRAIG
    12
    13                                                Attorneys for Plaintiff
                                                      ALLERGAN USA, INC.
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     1              MEMORANDUM OF POINTS AND AUTHORITIES
     2 I.     INTRODUCTION
     3        Defendant has continuously failed to comply with its discovery obligations
     4 despite a court order compelling production of documents and sanctioning
     5 Defendant $10,000 for failing to participate in the discovery process in good faith.
     6 On May 7, 2018, Defendant was ordered to produce by May 31 all responsive,
     7 non-privileged documents in response to a number of Allergan’s RFPs (the “May 7
     8 Order” (attached as Exhibit B to the concurrently filed Declaration of Joseph N.
     9 Akrotirianakis (“Akro Decl.”))).     Two months after this deadline, Defendant
    10 admits it has not produced documents unambiguously ordered produced. In
    11 spite of the Court’s May 7 Order, Defendant has unilaterally and improperly opted
    12 to (1) exclude the documents of certain key custodians (its sales force personnel,
    13 titled “Regional Business Directors,” and several of its sales executives); (2)
    14 exclude document sources; and (3) impose unjustifiable time-frame limitations on
    15 its search and/or production.
    16        Defendant’s failure to comply with the unambiguous May 7 Order is
    17 hampering Allergan’s ability to prove its claims.         The discovery cutoff is
    18 approaching, and Allergan has not received discovery needed to identify witnesses
    19 to depose, let alone the discovery it needs—and to which it is entitled—to move
    20 for summary judgment, seek a preliminary injunction, or prove its case at trial.
    21 The monetary sanctions previously imposed have proved insufficient to coerce
    22 Defendant to comply with discovery obligations. The Court should now impose
    23 additional discovery (issue and/or preclusion) sanctions and monetary sanctions.
    24 II.    FACTUAL AND PROCEDURAL BACKGROUND
    25        Allergan served its first set of RFPs to Defendant on December 22, 2017—
    26 over seven months ago. Defendant’s failure to produce even a single responsive
    27 document, coupled with its broad objections to Allergan’s Requests, necessitated
    28 Allergan’s motion to compel discovery and for sanctions. (Dkt. No. 47.) In the
         May 7 Order, Magistrate Judge Early granted Allergan’s motion to compel almost
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     1   in its entirety. (Dkt. No. 53 (motion to compel); Dkt. No. 59 (order granting
     2   motion to compel); Akro. Decl. ¶¶ 11‒13.)
     3         A.    Defendant is Unambiguously Ordered To Produce Documents.
     4         In the May 7 Order, Magistrate Judge Early rejected most of Defendant’s
     5   objections and ordered Defendant to pay monetary sanctions and to produce all
     6   non-privileged documents responsive to Allergan’s RFPs Nos. 5‒8, 10‒17, 21‒28,
     7   and 45. (Dkt. No. 59 and Akro Decl. Exh. B.) Those RFPs sought: (i) Defendant’s
     8   communications with Health Care Providers (“HCPs”) relating to Dropless
     9   Therapy, LessDrops, Simple Drops and Klarity (RFP Nos. 5‒8); (ii) documents
    10   related to those communications (RFP Nos. 5‒8); (iii) documents in which
    11   Defendant states or represents that any of its products come from a Section 503B
    12   facility (RFP No. 45); and (iv) documents in which Defendant has stated or
    13   represented the lawfulness of its business practices and sales (RFP Nos. 10‒11), its
    14   compliance with the governing legal framework (RFP No. 21), the superiority of
    15   its drugs compared to the FDA-approved drugs with which they compete (RFP
    16   Nos. 12‒17), the efficacy of its drugs (RFP Nos. 22‒25), and the supposed
    17   preference for its drugs by cataract surgeons (RFP Nos. 26‒28). The Court ordered
    18   defendant to product responsive documents by May 31, 2018. (Dkt. No. 59 and
    19   Akro Decl. Exh. B ¶ 7.)
    20         B.    Defendant Fails to Comply with the May 7 Order.
    21        On June 4, 2018, Defendant produced 78,552 files and documents. (Akro.
    22   Decl. ¶15.) But it is undisputed those documents do not include all responsive,
    23   non-privileged documents Magistrate Judge Early ordered Defendant to produce.
    24   Defendant has failed to comply with the May 7 Order in at least three important
    25   respects.   Defendant has: (1) not produced (or, according to counsel, even
    26   attempted to collect) documents from many key custodians, including Defendant’s
    27   sales representatives; (2) largely limited its production to email and email
    28   attachments only—and failed to produce other types of responsive documents; and
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     1   (3) improperly limited its production of emails to those sent on or after January 2,
     2   2015.
     3           First, Defendant violated the Court’s order compelling production of
     4   documents related to its sales by excluding from its search and collection its sales
     5   force and those individuals who manage or direct sales operations.
     6           Allergan propounded RFPs seeking any communication Defendant has had
     7   with any HCP relating to Defendant’s ophthalmic products or product lines at issue
     8   in this litigation. (See Allergan’s First Set of RFPs, Nos. 5‒8.) Before the May 7
     9   Order, Defendant sought to limit its production in several ways, but Magistrate
    10   Judge Early ordered Defendant to produce “all responsive, non-privileged
    11   Communications related to marketing and sales.” (Dkt. No. 59 and Akro Decl.
    12   Exh. B ¶ 4(a) (emphasis added).)
    13           In spite of this clear order, the metadata accompanying Defendant’s
    14   production in response to the May 7 Order shows that Defendant excluded its
    15   Regional Business Directors—who function as Defendant’s sales representatives—
    16   and other key sales personnel as custodians. (Akro. Decl. ¶ 18(b).) Instead,
    17   Defendant’s production is limited to only eleven custodians—two Marketing
    18   Associates, two Marketing Managers, the Chief Financial Officer, two Customer
    19   Care personnel (a Supervisor and a Director), three Vice Presidents (one of Product
    20   Strategy, one of Commercialization, and one of Quality), and the Chief Executive
    21   Officer. (Akro. Decl. ¶ 18(a), Exh. E.) In other words, Defendant’s response to an
    22   order to produce all responsive documents “related to marketing and sales” was to
    23   exclude all of its sales representatives and at least several sales executives.
    24           Through several letters and during telephonic conferences, Defendant’s
    25   counsel asserted that they did not need to produce documents from Regional
    26   Business Directors because those employees did not have very much
    27   communication with HCPs and did not have any role in formulating and
    28   disseminating relevant sales materials. (Akro. Decl. ¶26(a), 28(a), Exh, K at 1.)
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     1   These excuses are incredible on their face: HCPs are the purchasers of the
     2   Defendant’s products, and the Regional Business Directors are Defendant’s field
     3   force responsible for sales, so how could they not engage in advertising or
     4   promotion-related communications with HCPs? And based on even the limited
     5   production Allergan has received, it is apparent that these excuses are false, as
     6   emails   produced    by    Defendant    reference    in-person   visits   and   other
     7   communications between Regional Business Directors and HCPs. (Akro. Decl. ¶
     8   31, Exh. M‒P.) Even if it were true that the Regional Business Directors had no
     9   role in formulating sales or marketing materials, even Defendant’s limited
    10   production belies Defendant’s assertion that they had no role in disseminating such
    11   materials. (Akro. Decl. ¶ 31, Exh. M, N.) This is a case about false or misleading
    12   advertising and promotion by Defendant. Documents in which Defendant’s sales
    13   representatives made representations in advertising or promotion to HCPs are at
    14   the core of the case. Defendant’s effort to withhold these documents, in spite of
    15   the May 7 Order, tells the Court everything it needs to know about Defendant’s
    16   attitude toward its discovery obligations and court orders.
    17         Second, it is clear that Defendant has excluded entire sources of documents
    18   and limited its court-ordered production to emails and their attachments. Allergan
    19   propounded RFPs seeking all documents in which Defendant made certain
    20   statements or representations regarding its products or product lines, and all
    21   documents relating to such statements or representations, including documents in
    22   which Defendant stated or represented: (1) Defendant’s products are lawfully
    23   compounded (Allergan’s First Set of RFPs, Nos. 10‒11); (2) Defendant’s products
    24   are superior to FDA-approved products with which they compete (id., Nos. 12‒
    25   13); (3) Defendant’s products reduce issues with patient compliance or reduce the
    26   number of eye drops needed after ocular surgery (id., Nos. 14‒17); and (4)
    27   Dropless Therapy is any way safer or more effective than topical medications (id.,
    28   Nos. 22‒25.) Before the May 7 Order, Defendant sought to limit its production to
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     1   “representations in marketing”—i.e., external communications—while withholding
     2   internal communications of its sales and marketing representatives and executives
     3   relating to such external communications. (Dkt. No. 53, at 23, 31, 37, 42, 59, 65.)
     4   Defendant produced some documents prior to the May 3, 2018 hearing on
     5   Allergan’s motion to compel. (Akro. Decl. ¶ 7.) Because of the narrowness of
     6   Defendant’s interpretations of the RFPs and the breadth of Defendant’s objections,
     7   Defendant produced only 310 files and documents in total before the May 7 Order.
     8   (Id.) Following Defendant’s limited, April 27 production, Magistrate Judge Early
     9   rejected Defendant’s proposed limitations and ordered it to produce “all
    10   responsive, nonprivileged documents” and “all responsive, nonprivileged
    11   Communications” excluding routine orders. (Dkt. No. 59 and Akro Decl. Exh. B ¶
    12   4(b)-(c), (e).)
    13          Rather than comply with the May 7 Order and produce responsive
    14   documents from all available sources, Defendant improperly limited its post-May 7
    15   Order production almost entirely to emails and their attachments.         Defendant
    16   produced just two standalone (i.e., not emailed) files in its second production. The
    17   metadata reveals that these two documents were created on May 25, 2018 and are
    18   associated with the search of a single custodian’s email archive (Jose Lopez).
    19   These two documents (one .xls file and one .csv file), moreover, are virtually
    20   unreadable, as they were produced only as .pdf images rather than in the native
    21   format required by the parties’ agreed-upon ESI protocol. (Akro. Decl. ¶19(a).)
    22          Allergan’s RFPs and Magistrate Judge Early’s May 7 Order were in no way
    23   limited to email and email attachments.        To the contrary, the RFPs sought
    24   responsive documents in various types of repositories and in all forms, and the
    25   Order compelled Defendant to produce all responsive documents, including those
    26   from non-email repositories (e.g., desktops, share drive folders, paper files, etc.).
    27   (See Allergan’s First Set of RFPs, Definitions at 3 (defining “document” broadly);
    28   Dkt. 53 ¶ 4 (ordering production of certain documents without narrowing the
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     1   meaning of that word.)) Defendant was not free to choose to limit its production
     2   only to its email and documents its employees sent by email.
     3         Recently, Defendant has taken the position that the 310 documents it
     4   produced before the May 7 Order constitute the entire universe of responsive
     5   documents not emailed. (Akro. Decl. ¶26(c), Exh. K at 1.) Again, that excuse is at
     6   best implausible given that Defendant’s first production was limited to external
     7   marketing materials and excluded all internal documents relating to marketing.2
     8   When Magistrate Judge Early rejected that limitation, Defendant was required to
     9   search for and produce all responsive internal documents.         The notion that
    10   Defendant could have precisely zero responsive internal documents other than
    11   email and email attachments—not a single hard copy of a draft marketing
    12   document with handwritten notes on it, not a single memo discussing how to
    13   phrase a marketing document on a desktop computer—is absurd.
    14         Moreover, Defendant has now informed Allergan that Defendant had not
    15   searched all relevant sources to pull the 310 documents. At the time of the first
    16   production, Defendant’s counsel said that many of the documents were kept in
    17   non-digital format, meaning that they were obtained without resort to searching
    18   employees’ desktop computers or any shared drive or network folder. (Akro. Decl.
    19   ¶9, Exh. A.) Moreover, the custodian for all 310 documents and files was listed as
    20   “Imprimis,” rather than any particular employee, meaning that the 310 documents
    21   did not come from any particular employee’s files. (Id.)
    22         For these reasons, it is clear that, notwithstanding the May 7 Order,
    23
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           Consistent with Defendant’s objections, the email documents Defendant
    24
         produced on June 4, 2018, show that Defendant did, in fact, limit its initial April
    25   27, 2018 production to external marketing materials. Indeed, Defendants’ June 4
    26   production contains emails in which Defendant specifically instructed its
    27   employees to limit their searches to public marketing materials. (Akro. Decl. ¶
         32(a); Akro Decl. Exh. Q.)
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     1   Defendant did not search for documents maintained on desktops or in personal
     2   share drive folders, shared network folders, or hard copy files. Defendant has
     3   therefore failed to comply with the May 7 Order, and that failure is contumacious.
     4   If the Court believes it necessary to decide this motion, the Court should order an
     5   evidentiary hearing to determine what Defendant did to comply with the May 7
     6   Order.
     7        Third, Defendant limited its second production to emails (and attached
     8   documents) sent on or after January 2, 2015. (Akro. Decl. ¶ 19.) Allergan’s RFPs
     9   did not limit the timeframe for responsive documents, and neither did the May 7
    10   Order. Defendant’s date restriction is particularly concerning given that Allergan’s
    11   Complaint contains several allegations related to statements, conduct, or events
    12   that occurred before January 2, 2015. (See, e.g., Dkt. No. 1, Complaint ¶¶ 49,
    13   60(d), 63, 80.)
    14        Defendant’s counsel has expressed an “understanding [that] Imprimis’s email
    15   archives [only] date back to early 2015 because that is when Imprimis switched
    16   from internally hosting email to using Office365.” (Akro. Decl. ¶ 26(b), Exh. K.)
    17   Defendant’s counsel further stated that Defendant’s “IT department is working to
    18   ensure emails that pre-date the switch to Office365 were not preserved [sic].” (Id.)
    19        This excuse is also implausible. For one, it is highly unlikely that Defendant
    20   switched the email system without preserving any historical email. For another,
    21   even if certain pre-2015 emails are genuinely unavailable, that does not excuse
    22   Defendant from searching for pre-2015 documents in non-email repositories.
    23   Finally, Defendant has produced documents showing that it instructed its
    24   employees to not even search for pre-2015 documents (and, in at least one case, to
    25   search only documents from 2016 or later). (Akro. Decl. ¶ 32, Exh. Q, R, S.) If
    26   necessary to decide this motion, Allergan respectfully requests that the Court order
    27   an evidentiary hearing to determine whether it has searched for pre-2015
    28   documents, why it instructed its employees to limit the temporal scope of their
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     1   searches for responsive documents, and whether pre-2015 emails are available.
     2         C.    Defendant Admits It Has Not Complied With the May 7 Order.
     3         To no avail, Allergan’s counsel has reached out to Defendant’s counsel
     4   through numerous letters and emails to notify them of these violations and to
     5   explore a solution. On July 3, Allergan’s counsel sent Defendant’s counsel a letter
     6   raising the improperly limited custodian/Regional Business Director issue and
     7   requesting a conference of counsel. (Akro. Decl. ¶ 18, Exh. E.) On July 6,
     8   Allergan’s counsel sent Defendant’s counsel another letter pointing out that
     9   Defendant had produced only email (and attachments) sent on or after January 2,
    10   2015 and again requesting a conference of counsel. (Akro. Decl. ¶ 19, Exh. F.)
    11         Allergan’s counsel and Defendant’s counsel conferred, by telephone, on July
    12   11 concerning these deficiencies in Defendant’s production. (Akro. Decl. ¶ 21.)
    13   Defendant’s counsel offered no information on whether, how, or when Defendant
    14   intended to correct these deficiencies. (Id.) Rather, Defendant’s counsel informed
    15   Allergan’s counsel that Defendant’s new counsel should review the issues and
    16   respond.
    17         Having received no assurance that Defendant would comply with the
    18   Court’s May 7 Order, Allergan’s counsel sent another letter to Defendant’s counsel
    19   on July 12. The letter pointed out that six weeks had passed since the May 31
    20   production deadline and Defendant had still not complied with the May 7 Order.
    21   (Akro. Decl. ¶ 22, Exh. H.) In the July 12 letter, Allergan also informed Defendant
    22   that, while it remained open to discussing a resolution, it would seek discovery
    23   sanctions and other available remedies from the Court. (Id.)
    24         On July 13, Defendant’s counsel responded, confirming that they did not
    25   plan to address Defendant’s failure to comply with the May 7 Order and that
    26   Defendant’s new counsel would need to review the issues. (Akro. Decl. ¶ 23, Exh.
    27   I.) Allergan’s counsel responded the following day, July 14, noting that no request
    28   for substitution of counsel had been made or granted. (Akro. Decl. ¶24, Exh. J.)
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     1         A week passed before Defendant’s original counsel, on July 20, sent
     2   Allergan’s counsel an email that purported to address these issues. (Akro. Decl. ¶
     3   26, Exh. K.) That same day, Defendant’s new counsel filed a notice of appearance.
     4   (Dkt. No. 65.) At 1:00 p.m. on July 20, a telephone conference was held between
     5   Allergan’s counsel and Defendant’s counsel (new and original), in which Allergan
     6   sought clarification of several points in Defendant’s email. (Akro. Decl. ¶ 27.) In
     7   the email and subsequent call, Defendant’s counsel recognized the issues with their
     8   production, but refused to explain when they would remedy them:
     9         Regional Business Directors. In the July 20 email, Defendant’s counsel
    10   acknowledged that they had excluded relevant custodians from their previous
    11   search, stating that they would now “retrieve and produc[e] documents from
    12   additional custodians involved in Imprimis’s sales force.” (Akro. Decl. ¶¶ 26(a),
    13   28(a), Exh. K at 1.) Defendant’s counsel clarified that Defendant would produce
    14   responsive “emails” (not all documents) from Defendant’s Vice President for Sales
    15   for Ophthalmology, National Sales Director for Ophthalmology, and Vice
    16   President of Business Development.        (Akro. Decl. ¶ 26(a), Exh. K at 1.)
    17   Defendant’s counsel added that it would not produce documents from Regional
    18   Business Directors on the basis that “Regional Business Directors did not have
    19   any role in formulating and disseminating relevant sales materials.” (Id.)
    20         In a July 20, 2018 telephone conference following the email, Defendant’s
    21   counsel offered a second, separate rationale for Defendant’s refusal to produce
    22   documents from its sales force: that Regional Business Directors “did not have
    23   very much communication with health care providers.” (Akro. Decl. ¶ 28(a).)
    24   That rationale is transparently false for the reasons explained above. Defendant
    25   does not deny that the Regional Business Directors make sales pitches to HCPs,
    26   which is demonstrably so based on the email traffic Allergan has seen in
    27   Defendant’s limited production. (Akro. Decl. ¶ 31, Exh. M-P.) On July 27, 2018,
    28   Defendant provided a minor update with respect to producing documents from
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     1   Regional Business Directors and sales executives, as discussed below.
     2         Stand-alone/Non-email Documents.       Defendant’s counsel insist that the
     3   original production of “over 300 documents” constitutes the entire universe of
     4   responsive documents, including from employees’ computers and the shared drive.
     5   (Akro. Decl. ¶ 26(c), Exh. K at 1.) In other words, Defendant’s counsel have taken
     6   the position that no other non-email documents exist beyond the small number in
     7   Defendant’s first production and that the May 7 Order had no effect whatever on
     8   Defendant’s obligation to produce non-email documents. This position is equally
     9   implausible, and Defendant’s counsel made no attempt to explain, either in the
    10   email or the subsequent July 20, 2018 telephone conference, how Magistrate Judge
    11   Early’s rejection of Defendant’s narrowing constructions and overruling of
    12   Defendant’s objections could have had no effect at all on Defendant’s production
    13   obligations.
    14         Time Frame. Defendant’s counsel has claimed that Imprimis does not have
    15   access to its pre-2015 emails because it switched from internally hosting email to
    16   using Office365. (Akro. Decl. ¶¶ 26(b), Exh. K at 1.) Allergan explained why that
    17   is highly unlikely to be true, and on July 20, 2018, Defendant’s counsel hedged,
    18   stating that, if they located “accessible sources of pre-2015 emails, Imprimis will
    19   produce those.” (Id.) But Defendant’s counsel provided no time frame in which
    20   Defendant’s IT department would determine whether pre-2015 emails had been
    21   preserved.     (Id.)    Defendant’s counsel also failed to address Defendant’s
    22   obligations to collect and produce non-email documents created before January 2,
    23   2015—documents that would not have been affected by Defendant’s switching its
    24   email provider. (Id.)
    25         One week later, on July 27, 2018, Defendant’s new counsel wrote with an
    26   update: that Defendant has collected documents from three sales/business
    27   development executives, which it would produce “shortly,” and that it was
    28   “reconsidering its prior exclusion of Regional Business Directors” and was
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     1   “looking into feasibility of producing documents from the RBDs.” (Akro Decl.
     2   Exh. L). These vague promises came with no guarantees or even estimates of
     3   whether or when these productions would take place, and did not obviate the need
     4   to file this motion.
     5   III.   LEGAL ARGUMENT
     6          A.    Legal Standard
     7          Courts have discretion to impose a “wide range of sanctions when a party
     8   fails to comply with the rules of discovery or with court orders enforcing those
     9   rules.” Wyle v. R.J. Reynolds Indus., Inc., 709 F.2d 585, 589 (9th Cir. 1983).
    10   Among other things, Federal Rule of Civil Procedure 37 authorizes a court to
    11   impose “just orders” that may “direct[] that the matters embraced in the order or
    12   other designated facts be taken as established for purposes of the action . . . ; []
    13   prohibit[] the disobedient party from supporting or opposing designated claims . . .
    14   or from introducing designated matters in evidence . . . or [] treat[] as contempt of
    15   court the failure to obey any court order . . . .” Fed. R. Civ. P. 37(b)(2)(A).
    16   “Alternately, or in addition, the court may impose on the disobedient party
    17   reasonable expenses caused by the failure, unless the failure was substantially
    18   justified or other circumstances make an award of expenses unjust.”          Meggitt
    19   (Orange Cty.), Inc. v. Nie Yongzhong, No. SACV 13-0239-DOC, 2015 WL
    20   1809354, at *10 (C.D. Cal. Apr. 21, 2015) (Carter, J.).         And “[c]ourts have
    21   inherent power to enforce their orders through civil contempt.” Tatung Co., Ltd. v.
    22   Hsu, No. SACV131743DOCANX, 2016 WL 1047343, at *4 (C.D. Cal. Mar. 16,
    23   2016) (Carter, J.) (internal quotation marks omitted).
    24          B.    Defendant Indisputably Has Failed To Produce Documents That
    25                The Court Ordered It To Produce.
    26          As described more fully above, Defendants has failed to comply with the
    27   May 7 Order in three important ways. First, Defendant has improperly excluded
    28   the documents of certain key custodians (sales representatives) from its production.
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     1   Second, Defendant has improperly excluded stand-alone (non-email) documents
     2   from its production. Third, Defendant has improperly limited its production to
     3   documents from 2015 (and in at least one case, 2016) and onward. Defendant’s
     4   excuses for the admitted failure to produce these documents range from highly
     5   implausible to transparently false. Far from justifying Defendant’s limitations on
     6   its production, Defendant’s excuses underscore that Defendant has failed to engage
     7   in discovery in good faith throughout the pendency of this action.
     8           C.     Defendant’s Failure To Comply With The Court’s Order Has
     9                  Prejudiced Allergan.
    10           Defendant’s failure to comply with the May 7 Order has prejudiced
    11   Allergan’s ability to prove its case.      This case is about false and misleading
    12   advertising and unfair competition in which Defendant has engaged and is
    13   engaging. Allergan develops and manufactures ophthalmic drugs, which it sells
    14   only after establishing through clinical trials that they are safe and effective and
    15   only after obtaining FDA’s approval. (See Dkt. No. 31, Mot. to Dismiss Order at
    16   1‒2.)        Defendant,   by   contrast,   mass-markets   its   competing   so-called
    17   “compounded” drugs nationwide, without FDA approval, and with an aim to
    18   capture a significant market share. (See id. at 2.)
    19           Defendant misleads consumers and HCPs in a variety of ways. Defendant
    20   falsely claims to comply with Sections 503A and 503B of the Food, Drug &
    21   Cosmetic Act (“FDCA”), which provide exemptions from the FDA-approval
    22   requirement for compounded drugs under carefully limited circumstances. (Dkt.
    23   No. 1, Compl., ¶¶ 1, 70.) Defendant promotes its Dropless Therapy drug with a
    24   false and misleading superiority claim, stating in a video (which is among the
    25   items Defendant has failed to produce) that “[t]he patient is protected from
    26   infection and inflammation even more effectively than can be achieved with
    27   expensive, inconvenient, and irritating topical medications.”          (Id., ¶ 79).
    28   Defendant also falsely claims that “95% of cataract surgeons would prefer
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                                         3
     1   Dropless Therapy.” (Id., ¶ 80.)
     2          A central issue in this case is how Defendant has misrepresented to HCPs
     3   that it complies with Sections 503A and 503B of the FDCA. Defendant markets its
     4   drugs through one-on-one selling, using its Regional Business Directors as sales
     5   representatives. The Regional Business Directors are in direct and frequent contact
     6   with the HCPs who are Defendant’s customers. Defendant’s own documents show
     7   that Regional Business Directors have in-person meetings with HCPs to try to sell
     8   Defendant’s drugs. (Akro. Decl. Exh. P at IMPRIMIS00000122320 (Regional
     9   Business Director scheduling in-person visit to eye care clinic).) And Magistrate
    10   Judge Early ordered Defendant to produce all documents “relating to marketing
    11   and sales.” (Dkt. 59 at 1‒2.) Excluding the Regional Business Directors from
    12   Defendant’s search and production is impossible to explain other than as contempt.
    13   Allergan is also prejudiced by Defendant’s limitation of its production in response
    14   to the May 7 Order to emails and attachments, excluding all other types of
    15   documents and repositories, as well as by Defendant’s unilateral time-frame
    16   limitations that ignore the full, relevant time period of Allergan’s allegations.
    17          Despite previous monetary sanctions, Defendant has refused to comply with
    18   the May 7 Order. This suggests Defendant’s conduct is both willful and calculated
    19   to delay these proceedings. That Defendant’s excuses fail the straight-face test
    20   confirms this. With each passing day, Allergan is increasingly prejudiced by
    21   Defendant’s ongoing failure to produce responsive documents. The discovery
    22   cutoff is quickly approaching in November, but Allergan cannot prepare for and
    23   take meaningful depositions before the cutoff because Defendant has failed to
    24   produce ordered discovery.      That is undoubtedly just as Defendant hopes—if
    25   refusing to comply with the May 7 Order will prevent Allergan from filing a
    26
         3 In its Answer, Defendant denies that its statements are false and misleading. (See
    27   Dkt. No, 34, Imprimis’s First Amended Answer and Counterclaims ¶¶ 70, 75, 79,
         80.)
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     1   motion for a preliminary injunction or for summary judgment, Defendant may
     2   continue to milk its unlawful business model.
     3         D.     Defendant’s Violations of the May 7 Order Warrant the
     4                Requested Sanctions.
     5           In accord with many of this Court’s orders awarding discovery and
     6   monetary sanctions, this Court should enter a similar order sanctioning Defendant
     7   for its refusal to obey the May 7 Order.
     8         1. In several cases, this Court has not hesitated to issue broad sanctions
     9   where—as here—a party has refused to comply with discovery orders. Consider,
    10   for example, this Court’s opinion in Meggitt (Orange Cty.), Inc. v. Nie Yongzhong,
    11   No. SACV 13-0239-DOC, 2015 WL 1809354 (C.D. Cal. Apr. 21, 2015). As in
    12   this case, the defendants there failed to turn over documents in violation of a court
    13   order compelling production. Id. at *11. The Court determined that the conduct
    14   was “sanctionable,” ordered monetary sanctions, and explained that it would also
    15   impose discovery sanctions in the form of “evidentiary preclusion or an adverse
    16   inference instruction regarding the late disclosed documents . . . in the course of
    17   ruling on motions in limine and developing the jury instructions.” Id. at *12‒13.
    18          The Court reached a similar result in Tatung, a case in which it ordered
    19   discovery sanctions in light of abuses akin to the ones in this case. In that case, a
    20   special master determined that one of the parties had “engaged in a campaign of
    21   willful obfuscation and ha[d] failed in its obligations to answer discovery in a
    22   forthright manner” and recommended discovery sanctions. 2016 WL 1047343, at
    23   *3. This Court agreed, reasoning that the party’s “conduct in discovery, including
    24   its failure to comply with discovery obligations and the Special Master’s orders . . .
    25   well supported” the recommendation to preclude that party from rebutting
    26   evidence regarding certain fraudulent conduct. Id. at *4.
    27         Tatung and Meggitt do not stand alone. Indeed, this Court has on a number
    28   of other occasions imposed sanctions precluding a defendant from offering
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     1   evidence where, as here, the defendant flouts discovery rules and orders. See, e.g.,
     2   Vinh Nguyen v. Radient Pharm., No. SACV110406DOCMLGX, 2013 WL
     3   12149241, at *1 (C.D. Cal. July 19, 2013) (Carter, J.) (entering sanctions
     4   precluding certain expert testimony where defendant failed to provide an expert
     5   report); Chevron U.S.A., Inc. v. M & M Petroleum Servs., Inc., No. SACV 07-
     6   0818DOCANX, 2009 WL 2431926, at *22 (C.D. Cal. Aug. 6, 2009) (Carter, J.)
     7   (finding “evidence preclusion sanctions [to be] just and appropriate sanctions for . .
     8   . egregious behavior that significantly delayed the litigation and caused undue
     9   burden and expense to the Court and to [the opposing party]”); Mack-Univ. LLC v.
    10   Halstead, No. SACV 07-393DOC (ANX), 2007 WL 4458823, at *3 (C.D. Cal.
    11   Sept. 25, 2007) (Carter, J.) (entering sanctions striking an answer based on
    12   defendant’s “refusal to cooperate in discovery and flagrant disregard” of a
    13   discovery order).
    14         The Court has also issued monetary sanctions for violations of discovery
    15   orders. For example, in Thinking Liberally Media v. Orange Juice Blog, No.
    16   SACV 10-0139 DOC, 2011 WL 1812767 (C.D. Cal. May 12, 2011) (Carter, J.),
    17   the defendant failed to comply with an order requiring him to produce certain
    18   documents and refused to cooperate meaningfully during the parties’ meet and
    19   confer. Id. at *1. The Court awarded monetary sanctions and ordered further
    20   production of documents. Id. at *3. As in this case, the defendant’s conduct
    21   “ha[d] certainly been harmful to Plaintiffs’ ability to prepare for trial.” Id. at *2.
    22   And, as in this case, the defendant had “been warned in the past, through the
    23   imposition of sanctions, about his obligation to comply with discovery requests.”
    24   Id.
    25         2.    The Court should order similar relief in this case.           As in the
    26   aforementioned cases, Defendant has failed to comply with the May 7 Order.
    27   Moreover, Defendant’s violations of that Order have “certainly been harmful” to
    28   Allergan’s “ability to prepare for trial.” Orange Juice Blog, 2011 WL 1812767 at
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     1   *2.   Because of Defendant’s violations, Allergan has not received all of the
     2   evidence it is entitled to obtain to demonstrate that Defendant’s advertisements and
     3   communications with HCPs are false, misleading, and materially deceptive.
     4   Accordingly, the Court should enter an order establishing that Allergan has proven
     5   these issues and/or precluding Defendant from introducing evidence on these
     6   issues. In the alternative, Allergan requests that the Court instruct the jury that
     7   Defendant failed to produce documents that it was ordered to produce and that, as a
     8   result, the jury must presume that these documents would have supported these
     9   elements of Allergan’s claims.
    10         This type of order is necessary to remedy the prejudice to Allergan, and it is
    11   fully warranted by the egregious nature of Defendant’s violations.        Monetary
    12   sanctions alone have proved to be insufficient, as the Court’s prior monetary
    13   sanctions did nothing to deter Defendant from failing to comply with the May 7
    14   Order.
    15         That said, the Court should also enter an order for monetary sanctions
    16   against Defendant for Allergan’s attorney’s fees incurred in bringing this motion.
    17   Under Rule 37(b)(2)(C), a court that has imposed sanctions pursuant to Rule
    18   37(b)(2)(A) is to order the sanctioned party to pay the reasonable expenses
    19   incurred by the other party due to the noncompliance with a discovery order
    20   “unless the failure was substantially justified or other circumstances make an
    21   award of expenses unjust.” Campbell v. Nationwide Mut. Ins. Co., No.
    22   SACV1400091JLSDFMX, 2015 WL 12699509, at *4 (C.D. Cal. Nov. 24, 2015)
    23   (alterations and quotation marks omitted). Here, Defendant has failed to show that
    24   its non-compliance was substantially justified or that an award of sanctions would
    25   be unjust. Quite the contrary, tolerating Defendant’s disregard of the Court’s
    26   Order and its discovery obligations would be unjust.
    27   //
    28   //
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     1   IV.   CONCLUSION
     2         For the foregoing reasons, Allergan respectfully requests that the Court grant
     3   its motion and issue an order for discovery and monetary sanctions against
     4   Defendant.
     5
     6   DATED: July 30, 2018                         KING & SPALDING LLP
     7
     8                                                By: /s/ Joseph N. Akrotirianakis
     9                                                  JOSEPH N. AKROTIRIANAKIS
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